Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 1 of 11 PageID #: 254



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  JOHN HIGGINBOTHAM,                               §
                                                   §
                Plaintiff,                         § CIVIL ACTION NO. 4:17-CV-00229
                                                   § JUDGE MAZZANT/JUDGE JOHNSON
  v.                                               §
                                                   §
  INDYMAC BANK, F.S.B, ONEWEST
  BANK F.S.B., OCWEN LOAN
                                                   §
  SERVICING, L.L.C., NATIONSTAR                    §
  MORTGAGE L.L.C., MORTGAGE                        §
  ELECTRONIC REGISTRATION                          §
  SYSTEMS, INC. (MERS), BRETT BAUGH,
  OR ANY TO ACT AS SUBSTITUTE
  TRUSTEE(S);

                Defendants.

                             REPORT AND RECOMMENDATION OF
                             UNITED STATES MAGISTRATE JUDGE

        Before the Court is Defendants Ocwen Loan Servicing, LLC (“Ocwen”) and CIT Bank,

 N.A. f/k/a OneWest Bank, N.A. f/k/a OneWest Bank, FSB’s (“OneWest”) Motion to Dismiss (Dkt.

 8), and Defendants Nationstar Mortgage LLC (“Nationstar”) and Mortgage Electronic Registration

 Systems, Inc.’s (“MERS’”) Motion to Dismiss (Dkt. 12). Plaintiff John Higginbotham has failed

 to file a timely response. For the reasons explained below, the Court recommends the motions

 (Dkts. 8, 12) be GRANTED, and Plaintiff’s claims be DISMISSED.

                 I.          FACTUAL AND PROCEDURAL BACKGROUND

        On June 18, 2004, Plaintiff executed a promissory note (the “Note”) in the amount of

 $136,000.00. See Dkt. 2 at 4-5. Contemporaneously, Plaintiff, with his wife Virginia

 Higginbotham, executed a deed of trust (the “Deed of Trust”) which secured the Note against the

 real property located at 917 Fenimore Drive, Lewisville, Texas 75077 (the “Property”). See id.



                                               1
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 2 of 11 PageID #: 255



 Plaintiff admits to being delinquent on his mortgage since “approximately 2011,” and he filed for

 bankruptcy protection in order to prevent foreclosure. See id. at 6-7.

        The bankruptcy proceeding was discharged on April 26, 2013. See id. at 7. Plaintiff asserts

 that he reached out to Defendant Ocwen after the bankruptcy case in order to modify his loan. See

 id. On April 18, 2016, Defendant Ocwen assigned Plaintiff’s loan to Defendant Nationstar. See id.

 at 6. Additionally, Plaintiff admits he was still delinquent on his loan at this time. See id. at 8.

 Plaintiff contacted Defendant Nationstar and requested information about loss mitigation options,

 including loan modification. See id. However, due to Plaintiff’s delinquency, Nationstar posted

 the Property for foreclosure sale on March 7, 2017. See id. at 9.

        On March 6, 2017, Plaintiff filed his Original Verified Petition and Application for

 Temporary Restraining Order and Temporary Injunction (the “Complaint”) in state court (Dkt. 2).

 On April 3, 2017, Defendants Nationstar and MERS properly removed the case to federal court.

 See Dkt. 1. On April 10, 2017, Defendants Ocwen and OneWest filed a motion to dismiss (Dkt.

 8). On April 17, 2017, Defendants Nationstar and MERS filed a motion to dismiss (Dkt. 12). The

 remaining Defendants have not been served.

        On April 28, 2017, Plaintiff requested an extension to respond to Defendants Ocwen and

 OneWest’s motion to dismiss (Dkt. 14). The Court granted Plaintiff’s motion, and Plaintiff was

 required to file a response on or before May 12, 2017. See Dkt. 15. On May 3, 2017, Plaintiff

 requested an extension to respond to Defendants Nationstar and MERS’ motion to dismiss (Dkt.

 16). The Court granted Plaintiff’s motion, and Plaintiff was required to file a response on or before

 May 19, 2017. See Dkt. 17. Plaintiff has failed to file a timely response to either motion. Plaintiff’s

 failure to oppose the motion creates a presumption that Plaintiff does not controvert the facts set




                                                   2
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 3 of 11 PageID #: 256



 out by the motions and has no evidence to offer in opposition to the motions. See E.D. TEX. L. R.

 CV-7(d).

                                    II.     LEGAL STANDARD

         Rule 12(b)(6) provides that a party may move for dismissal of an action for failure to state

 a claim upon which relief can be granted. FED. R. CIV. P. 12(b)(6). The court must accept as true

 all well-pleaded facts contained in the plaintiff’s complaint and view them in the light most

 favorable to the plaintiff. Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996). A claim will survive

 an attack under Rule 12(b)(6) if it “may be supported by showing any set of facts consistent with

 the allegations in the complaint.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 563 (2007). In

 other words, a claim may not be dismissed based solely on a court’s supposition that the pleader

 is unlikely “to find evidentiary support for his allegations or prove his claim to the satisfaction of

 the factfinder.” Id. at 563 n.8.

         Although detailed factual allegations are not required, a plaintiff must provide the grounds

 of its entitlement to relief beyond mere “labels and conclusions” and “a formulaic recitation of the

 elements of a cause of action will not do.” Id. at 555. The complaint must be factually suggestive,

 so as to “raise a right to relief above the speculative level,” and into the “realm of plausible

 liability.” Id. at 555, 557 n.5. “To survive a motion to dismiss, a complaint must contain sufficient

 factual matter accepted as true to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

 Iqbal, 556 U.S. 662, 678 (2009). Therefore, “where the well-pleaded facts do not permit the court

 to infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

 shown—that the pleader is entitled to relief.” Id. (internal quotations omitted).

         When considering a motion to dismiss, a court’s review is limited to the complaint, any

 documents attached to the complaint, and any documents attached to the motion to dismiss that



                                                    3
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 4 of 11 PageID #: 257



 are central to the claim and referenced by the complaint. Lone Star Fund V (U.S.), L.P. v. Barclays

 Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010) (citing Collins v. Morgan Stanley Dean Witter, 224

 F.3d 496, 498–99 (5th Cir. 2000)).

                                         III.   ANALYSIS

        The Court has reviewed the dismissal arguments and, without any arguments to the

 contrary from Plaintiff, finds they are well-founded and supported by applicable authority. Both

 motions argue Plaintiff’s Complaint should be dismissed because Plaintiff has failed to state a

 claim upon which relief may be granted pursuant to Rule 12(b)(6). The Court further notes that

 although Plaintiff has filed suit against multiple Defendants, some who have not been served,

 Plaintiff’s causes of actions only refer to Defendants Ocwen and Nationstar. For the following

 reasons, the Court recommends Plaintiff’s claims be dismissed against all Defendants.

    A. COMMON LAW FRAUD

        To prevail on a common law fraud claim, a plaintiff must plead: (1) a material

 misrepresentation was made; (2) the representation was false; (3) when the representation was

 made, the speaker knew it was false or made it recklessly without any knowledge of the truth and

 as a positive assertion; (4) the speaker made the representation with the intent that the other party

 should act upon it; (5) the party acted in reliance on the representation; and (6) the party thereby

 suffered injury. See In re First Merit Bank, N.A., 52 S.W.3d 749, 758 (Tex. 2001). Further, fraud

 claims are subject to the heightened pleading requirements of Federal Rule of Civil Procedure 9(b).

 See Tuchman v. DSC Commc’ns Corp., 14 F.3d 1061, 1068 (5th Cir. 1994).

        To satisfy Rule 9(b), a plaintiff must allege with specificity “the statements (or omissions)

 considered to be fraudulent, the speaker, when and why the statements were made, and an

 explanation of why they are fraudulent.” Plotkin v. IP Axcess, Inc., 407 F.3d 690, 696 (5th Cir.



                                                  4
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 5 of 11 PageID #: 258



 2005). “Rule 9(b) requires that a plaintiff set forth the ‘who, what, when, where, and how’ of the

 alleged fraud[.]” United States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d

 899, 903 (5th Cir. 1997).

         Plaintiff generally alleges that Defendants Ocwen and Nationstar committed common law

 fraud in regards to loan modification agreements or other loss mitigation alternatives. See Dkt. 2

 at 10-11. However, Plaintiff fails to explain what misrepresentation was made, who made the

 misrepresentation, when it was allegedly made, or why the representation was allegedly fraudulent.

 Such general allegations will not support a claim for fraud. See Columbia/HCA Healthcare, 125

 F.3d at 903. Thus, Plaintiff fails to meet the heightened pleading standards required under Rule

 9(b).

         Plaintiff’s fraud claim is further barred by the economic loss rule. Under Texas law, the

 economic loss rule precludes recovery in tort when the loss complained of is the subject matter of

 a contract between the parties. See Sw. Bell Tele. Co. v. DeLanney, 809 S.W.2d 493, 494 (Tex.

 1991). Plaintiff’s allegations of loss pursuant to the fraud claim are directly related to the Note and

 Deed of Trust. Therefore, Plaintiff’s fraud claim is barred by the economic loss rule because

 Plaintiff cannot show that he has suffered any loss independent of the Note or the Deed of Trust.

 See Heil Co. v. Polar Corp., 191 S.W.3d 805, 817 (Tex. App.—Fort Worth 2006, pet. denied).

         Finally, Plaintiff’s claim for fraud is barred by the statute of frauds. A loan agreement for

 more than $50,000.00 is not enforceable unless the agreement is in writing. See TEX. BUS. & COM.

 CODE § 26.02(b). Similarly, a promise relating to the sale of real estate must be in writing. See id.

 An agreement regarding the transfer of the property or modification of a loan must therefore be in

 writing to be valid. See Martins v. BAC Home Loans Servicing, LP, 722 F.3d 249, 256 (5th Cir.

 2013). Plaintiff has not alleged that there was a written agreement regarding loan modification or



                                                   5
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 6 of 11 PageID #: 259



 delay of foreclosure. Therefore, the statute of frauds applies, and Plaintiff’s claims for fraud should

 be dismissed against all Defendants.

    B. BREACH OF CONTRACT AND FAILURE OF CONDITION PRECEDENT

        To prevail on a breach of contract claim under Texas law, a plaintiff must show: “(1) the

 existence of a valid contract; (2) performance or tendered performance by the plaintiff; (3) breach

 of contract by the defendants; and (4) damages sustained by the plaintiff as a result of the breach.”

 Sport Supply Grp., Inc. v. Columbia Cas. Co., 335 F.3d 453, 46 (5th Cir. 2003); see also Smith

 Int’l, Inc. v. Egle Grp., LLC, 490 F.3d 380, 387 (5th Cir. 2007); Winston Acquisition Corp. v. Blue

 Valley Apartments, Inc., 436 S.W.3d 423, 429 (Tex. App.—Dallas 2014, no pet.). Plaintiff admits

 that he failed to perform his payment obligations as required under the mortgage. See Dkt. 2; Gulf

 Pipe Line Co. v. Nearen, 138 S.W.2d 1065, 1068 (Tex. 1940) (a party to a contract who is himself

 in default cannot maintain a suit for its breach). Because Plaintiff failed to perform his duties under

 the contract, Plaintiff is precluded from maintaining a breach of contract claim.

        Plaintiff complains numerous times throughout his Complaint that he made payments

 during bankruptcy. See Dkt. 2 at 12. However, Plaintiff contradicts himself in his own pleadings;

 Plaintiff admits that after the discharge from the bankruptcy proceeding, he was still in default on

 his loan. See id. at 6-7. Further, the Chapter 13 Trustee filed a report as part of the conversion of

 Plaintiff’s bankruptcy to a Chapter 7 proceeding indicating nothing was paid to any Defendants.

 See Dkt. 8-4; see also Lone Star Fund V (U.S.), 594 F.3d at 387 (a court may consider any

 documents attached to the motion to dismiss that are central to the claim and referenced by the

 complaint). Thus, this argument fails.

        Plaintiff also argues that he has not received any notice of default or opportunity to cure

 since the filing of his bankruptcy case. See Dkt. 2 at 8-9. However, a lender holding a deed of trust



                                                   6
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 7 of 11 PageID #: 260



 is not required to repeatedly provide notice of default and additional twenty (20) days to cure

 before pursuing foreclosure after a bankruptcy petition is dismissed. See TEX. PROP. CODE

 § 51.002; Fitzgerald v. Harry, 2003 WL 22147557, at *4 (Tex. App.—Fort Worth Sept. 18, 2003,

 no pet.) (citing 11 U.S.C. § 362; Thompson v. Chrysler First Bus. Credit Corp., 840 S.W.2d 25,

 31 (Tex. App.—Dallas 1992, no writ)). In order for Plaintiff to be entitled to a new notice of default

 and opportunity to cure before the Property was set for sale, he would need to have cured his

 default. Plaintiff admits he received notice before the bankruptcy proceeding and he has failed to

 allege that he ever cured the default; therefore, Defendants were not required to send additional

 notice after dismissal of the bankruptcy proceeding. See id. Thus, Plaintiff’s argument fails and

 his claims for breach of contract and failure of condition precedent should be dismissed.

    C. VIOLATIONS OF REAL ESTATE SETTLEMENT PROCEDURES ACT AND
       REGULATION X OF THE CODE OF FEDERAL REGULATIONS

        Title 12 C.F.R. § 1024.41 (“Regulation X”) specifies procedures and timing for reviewing

 loss mitigation applications, including requiring the servicer to notify the borrower in writing,

 within thirty (30) days of receipt of a complete loss mitigation application, which loss mitigation

 options, if any, it will offer the borrower, or the specific reasons for denying a complete loss

 mitigation application. See, e.g., 12 C.F.R. § 1024.41(c), (d); see also Obazee v. The Bank of N.Y.

 Mellon, 2015 U.S. Dist. LEXIS 100642, at *6-7 (N.D. Tex. July 31, 2015). A borrower may

 enforce Section 1024.41 through Section 2605(f) of the Real Estate Settlement Procedures Act

 (“RESPA”).

        Plaintiff’s allegations are vague in regards to Defendants’ violations of RESPA. Plaintiff

 is unclear as to which Defendant a loan modification application was sent. See Dkt. 5 at 12-13.

 Plaintiff mentions both Defendants Ocwen and Nationstar, but is still not clear as to which




                                                   7
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 8 of 11 PageID #: 261



 Defendant allegedly violated RESPA and how. See id. Plaintiff fails to state a claim upon which

 relief can be granted on this factor alone.

          Moreover, Section 1024.41 provides that if a servicer receives a loss mitigation application

 forty-five (45) days or more before a foreclosure sale, the servicer shall review the application for

 completeness and notify borrowers of loss mitigation options that may be available to them. See

 12 C.F.R. § 1024.41. However, Section 1024.41 “only appl[ies] to a borrower’s first loss

 mitigation application.” Wentzell v. JPMorgan Chase Bank, Nat’l Ass’n, 627 F. App’x 314, 318

 n.4 (5th Cir. 2015). Notwithstanding Plaintiff’s other pleading defects, Plaintiff has not properly

 alleged that he is asserting a claim based upon his first loss mitigation application or when that

 application was allegedly sent to Ocwen or Nationstar. 1 Instead, Plaintiff speaks of “numerous”

 non-specific applications and non-specific “foreclosure activities” without offering any details.

 Such allegations do not meet the Rule 12(b)(6) standard.

          Plaintiff has also failed to provide any explanation as to how he suffered actual damages

 as a result of Defendants’ alleged failure to comply with Section 1024.41. “[A] plaintiff must allege

 actual damages resulting from a violation of [Section] 2605.” Bittinger v. Wells Fargo Bank NA,

 744 F. Supp. 2d 619, 627 (S.D. Tex. 2010) (citing 12 U.S.C. § 2605(f)(1)(A)); see Kareem v. Am.

 Home Mortg. Servicing, Inc., 479 F. App’x 619, 620 (5th Cir. 2012) (finding the plaintiff could

 not recover under Section 2605 because “even if [the Court] assume[d] that he did not receive the

 notice, he [did] not explain what actual damages he suffered”). Plaintiff states Defendants Ocwen

 and/or Nationstar committed numerous violations causing the Property to be posted for foreclosure

 sale with no further explanation of his alleged actual damages. See Dkt. 2 at 12-13. The Court does




 1
   Additionally, neither Section 1024.41 nor Section 2605(f) are a “defense to foreclosure;” Plaintiff’s sole remedy is
 a recovery of actual damages.

                                                           8
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 9 of 11 PageID #: 262



 not see how the posting of the Property for foreclosure caused Plaintiff actual damages. Thus,

 Plaintiff’s claims under RESPA and Regulation X should be dismissed.

    D. VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

        In order to state a claim under the Texas Debt Collection Act (“TDCA”), a plaintiff must

 show: (1) the debt at issue is a consumer debt; (2) the defendant is a debt collector within the

 meaning of the TDCA; (3) the defendant committed a wrongful act in violation of the TDCA; (4)

 the wrongful act was committed against the plaintiff; and (5) the plaintiff was injured as a result

 of the defendant’s wrongful act. TEX. FIN. CODE § 392.001, et seq. Plaintiff fails to allege a

 consumer debt, specific facts as to what conduct allegedly constituted such a violation, and specific

 facts as to any injury or causation. See Dkt. 2 at 13-14. Plaintiff merely asserts that Defendants

 failed to provide the required notices and posted the Property for foreclosure, and in doing so,

 Defendants misrepresented the character, amount, or extent of the debt. See id. Plaintiff has failed

 to meet the standards under Rule 12(b)(6).

        The TDCA prohibits debt collectors from using threats, coercion, or wrongful practices in

 the collection of consumer debts. See Brown v. Oaklawn Bank, 718 S.W.2d 678, 680 (Tex. 1986);

 see also TEX. FIN. CODE § 392.001, et seq. However, the TDCA does not prevent a debt collector

 from “exercising or threatening to exercise a statutory or contractual right of seizure, repossession,

 or sale that does not require court proceedings.” See TEX. FIN. CODE § 302.301(b)(3); see also

 Birchler v. JPMorgan Chase Bank, 2015 WL 1939438, at *5 (E.D. Tex. Apr. 29, 2015) (“When a

 creditor forecloses, it is not trying to obtain any funds directly from the debtor in satisfaction of

 the debt. Instead, foreclosure is an effort by the creditor to enforce its rights under the Deed of

 Trust in order to satisfy a debt upon which a debtor defaulted.”). Thus, the TDCA would not

 prevent Defendants from exercising non-judicial foreclosure.



                                                   9
Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 10 of 11 PageID #: 263



            Further, statements regarding modification of the loan or postponement of foreclosure do

  not constitute debt collection under the TDCA. See Miller v. BAC Home Loans Servicing, L.P.,

  726 F.3d 717, 723 (5th Cir. 2013) (statements about loan-modification applications and the

  postponement of foreclosure do not concern the “character, extent, or amount of” the home loan,

  so they are not covered by Section 392.304(a)(8) because plaintiffs were aware they had a

  mortgage debt, of the specified amount they owed, and defaulted); Singha v. BAC Home Loans

  Servicing, L.P., 564 F. App’x 65, 70-71 (5th Cir. 2014). Plaintiff’s allegations fall squarely into

  this category. Thus, Plaintiff’s TDCA claim fails as a matter of law.

      E. INJUNCTIVE RELIEF, EXEMPLARY DAMAGES, AND ATTORNEY’S FEES

            To assert a request for injunctive relief, a plaintiff is required to show “a substantial

  likelihood of success on the merits.” Anderson v. CitiMortgage, Inc., 2011 WL 1113494, at *7

  (E.D. Tex. Mar. 24, 2011). Because Plaintiff has not asserted any viable claims in this lawsuit as

  a matter of law, Plaintiff has failed to show a substantial likelihood for success on the merits. Thus,

  Plaintiff is not entitled to injunctive relief.

            Similarly, Plaintiff’s request for exemplary damages is unavailable because Plaintiff has

  failed to state a claim for any cause of action. Traditionally, exemplary damages are available so

  long as there is a finding of actual damages, among other requirements. See Safeshred, Inc. v.

  Martinez, 365 S.W.3d 655, 660 (Tex. 2012). Plaintiff has failed to plead any actual damages; thus,

  exemplary damages are unavailable.

            Finally, Plaintiff’s request for attorney’s fees is barred because Plaintiff has not pleaded

  any viable causes of action that would allow for recovery of attorney’s fees. See Green Int’l, Inc.

  v. Solis, 951 S.W.2d 384, 390 (Tex. 1997). Thus, Plaintiff’s request for attorney’s fee should be

  denied.



                                                    10
    Case 4:17-cv-00229-RAS-KPJ Document 19 Filed 06/01/17 Page 11 of 11 PageID #: 264



                                       IV.     RECOMMENDATION

             For the foregoing reasons, the Court recommends the motions (Dkts. 8, 12) be GRANTED,

      and Plaintiff’s claims should be DISMISSED against all Defendants.

             Within fourteen (14) days after service of the magistrate judge’s report, any party may

      serve and file written objections to the findings and recommendations of the magistrate judge. 28

      U.S.C. § 636(b)(1)(C). The parties are directed to Local Rule CV-72(c) for page limitations on

      objections.

             A party is entitled to a de novo review by the district court of the findings and conclusions

      contained in this report only if specific objections are made, and failure to timely file written

      objections to any proposed findings, conclusions, and recommendations contained in this report

      shall bar an aggrieved party from appellate review of those factual findings and legal conclusions

      accepted by the district court, except on grounds of plain error, provided that the party has been
.     served with notice that such consequences will result from a failure to object. Id.; Thomas v. Arn,

      474 U.S. 140 (1985); Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996)

      (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1) (extending the time to

      file objections from ten to fourteen days).

              SIGNED this 1st day of June, 2017.

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                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE




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